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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 25-20577-CIV-ALTONAGA/Reid

  In re:
  THE COMPLAINT OF BRP
  CORPORATE SERVICES LLC
  ______________________________/

                               MONITION AND INJUNCTION

   TO THE MARSHAL OF THE UNITED STATES OF AMERICA FOR THE
   UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
   OF FLORIDA:

         WHEREAS a Complaint for Exoneration From or Limitation of Liability (“Petition”)

  [ECF No. 1] was filed in the United States District Court for the Southern District of Florida on

  February 7, 2025, by Petitioner, BRP Corporate Services LLC, as Owner of a 2016 27’ Sailfish,

  Model 275 DC, HIN # YSIC0099J516, Florida Vessel Registration Number, FL 4080 TD, with

  twin 2015, Mercury Marine 150 HP outboard motors bearing serial numbers # 2B204985 and

  2B210912, and other appurtenances (“Vessel”), claiming the benefit of exoneration from or

  limitation of liability according to law and as provided in 46 U.S.C. Sections 30501 et seq. and

  Supplemental Rule F, and the statutes supplemental thereto and amendatory thereof, and also

  contesting liability independently of the limitation of liability claimed in said Petition for any

  loss, damage or injury arising out of or occurring on or about September 14, 2024, as described

  in the Petition for Exoneration from or Limitation of Liability, and said Petition also stating

  the facts and circumstances upon which said exoneration from or limitation or liability is claimed,

  and Ad Interim Stipulation for Value [ECF No. 10] in the form of a Letter of Undertaking, executed

  for no more than the amount of $96,320.00 U.S. Dollars, representing the post-casualty value of

  the vessel plus interest at six percent per annum and costs plus having been filed herein, and
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          WHEREAS, the Court has Ordered that the Ad Interim Stipulation for Value is approved

  and shall stand as security for all claims against Petitioner and the Vessel in this proceeding, and

          WHEREAS, the Court has Ordered that Monitions issue out of and under the seal of this

  Court against all persons claiming damages for any and all loss, damage or injury arising out of

  or occurring on or about September 14, 2024, on navigable waters of the United States as described

  in the Petition for Exoneration from or Limitation of Liability, citing them to appear before and to

  file their claims with the Clerk of this Court in writing and under oath, and to serve copies thereof

  upon attorneys for the Petitioner on or before April 11, 2025, and directing that any such persons,

  or their representatives, claiming damages as aforesaid who shall desire to contest the claim of

  Petitioner, shall answer said Petition, and

          WHEREAS Petitioner seeks protection against suits outside of this limitation proceeding

  as permitted by 46 U.S.C. Section 30501 et seq., and Supplemental Rule F, and the Court having

  granted an injunction against such suits,

          YOU ARE, THEREFORE, COMMANDED to cite all persons claiming damages for

  any and all loss, damage, injury, and destruction arising out of or occurring on or about September

  14, 2024 in the navigable waters of the United States as described in the Petition for Exoneration

  from or Limitation of Liability, to appear before this Honorable Court and to file their claims with

  the Clerk of this Court in writing and under oath, and to serve copies thereof upon J. Michael

  Pennekamp and Christine M. Walker, Esq. of Fowler White Burett, P.A., Attorneys for Petitioner,

  201 South Biscayne Blvd., 20th Floor, Miami, FL 33131, on or before April 11, 2025, and if any

  such persons or their personal representatives shall desire to contest the claims of Petitioner, to file

  an Answer to the Petition for Exoneration from or Limitation of Liability on or before such date,




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  or within such further time as the Court may grant, and to have such other and further relief as

  may be due them.

         DONE AND ORDERED in Miami, Florida, this 11th day of March, 2025.



                                              ________________________________________
                                              CECILIA M. ALTONAGA
                                              CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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